      Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 1 of 16




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


JAY M. DREW,

        Plaintiff,
                                              CIVIL ACTION FILE
V.

                                              NO. 1:20-CV-4683-MHC
 COBB COUNTY, GEORGIA,
 SONYA ALLEN, in Her Individual
 and Official Capacities, and
NATHANIAL NATION, in His
 Individual and Official Capacities,

       Defendants.


                                       ORDER

      Before the Court is Defendants' Motion to Dismiss Plaintiffs First

Amended Complaint [Doc. 23]. Plaintiff Jay M. Drew ("Drew") has not filed any

opposition to the Motion to Dismiss.



1 See Kramerv. Gwinnett Cntv, 306 F. Supp. 2d 1219, 1221 (N.D. Ga. 2004)
( [A] party's failure to respond to any portion or claim in a motion indicates such
portion, claim or defense is unopposed."); LR 7.1(B), NDGa ("Failure to file a
response shall indicate that there is no opposition to the motion."). Although the
Motion to Dismiss is unopposed, this Court must consider the arguments for
dismissal on the merits. See Giummo v. Olsen, 701 F. App'x. 922, 924 (11th Cir.
2017) (holding that the district court abused its discretion by interpreting Local
Rule 7.1B as permitting it to grant a motion to dismiss solely on the basis that the
plaintiff failed to timely file a brief opposing the motion to dismiss).
       Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 2 of 16




I. BACKGROUND2

      The above-styled lawsuit filed on November 17, 2020, arises from a divorce

proceeding that occurred in the Superior Court of Cobb County. Drew alleges that

he was sued in a contempt action brought by his former wife based upon his failure

to comply with the terms of a divorce decree order entered by Cobb County

Superior Court Judge Kimberly C. Childs. Am. Compl. ^ 16-20. On October 4,

2018, during a lunch break on the day of the contempt hearing. Drew experienced

a medical emergency and was admitted to the hospital. Id ^[19. His attorney

requested a continuance of the contempt hearing, which Judge Childs denied. Id.

^ 19-20. The court continued with the hearing in Drew's absence and, "without

allowing Mr. Drew an opportunity to present his case," the Court entered an order


requiring Drew to pay $14,505.00 to the Cobb County Sheriffs Office, Id, ^ 20;

Oct. 4, 2018 Order in Drew v. Drew, Civil Action No. 18-1-4912-58 (Superior

Court ofCobb County) ("Contempt Order") [Doc. 23-2 at 2-4]3 The order



2 Because this case is before the Court on a motion to dismiss, the facts are
presented as alleged in Drew's First Amended Complaint ("Am. CompL")
[Doc. 12]. See Silbennanv. Miami Dade Transit, 927 F.3d 1123, 1128 (llth Cir.
2019) (citation omitted).

 Drew did not attach the October 4, 2018, Contempt Order to the Amended
Complaint, but it is attached to Defendants' Motion to Dismiss. Given that the
Contempt Order is specifically referenced in the Amended Complaint, its contents
are not in dispute, and is central to Drew's claims in this case, the Court will
                                           2
       Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 3 of 16




included a provision calling for Drew's arrest if he did not make the $14,505.00

payment by November 5, 2018. Id.

      On the date the $14,505.00 payment was due (November 5, 2018), Drew

filed a motion for new trial or, alternatively, to set aside the Contempt Order, and

alleged that the filing of the motion "supersedes [the] enforcement of the trial

court's Order of October 4, 2018" and that "Defendant Childs failed to advise the

Sheriff of Cobb County." 11^21,23. Drew alleges that on November 6, 2018,

after Plaintiff had filed his motion for a new trial, Defendant Sonya Alien

("Alien") authored a Memorandum to Defendant Nathanial Nation ("Nation")

(both employees of the Cobb County Sheriffs Department) that contained an

affidavit from Alien averring that Drew had failed to make the payments required

by Judge Childs' Contempt Order. Id ^ 3, 22; Memo from Alien to Nation (Nov.

6, 2018) [Doc. 23-2 at I].4




consider the document. See Fin. Sec. Assurance, Inc. v. Stephens, Inc., 500 F.3d
1276, 1284 (llth Cir. 2007).
4 Drew did not attach the November 6, 2018, Memorandum to the Amended
Complaint, but it is attached to the Defendants' Motion to Dismiss. Given that it is
specifically referenced in the Amended Complaint, its contents are not in dispute,
and is central to Drew's claims in this case, the Court will consider the document.
See Fin. Sec. Assurance, Inc., 500 F.3d at 1284.


                                          3
       Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 4 of 16




      Drew was arrested November 26, 2018, after he was pulled over for a traffic

stop and taken to the DeKalb County Jail based on the Contempt Order. Am.

Compl. Tf 26. Subsequently, Drew's attorney presented Judge Childs with an order

for Drew's immediate release based on O.C.G.A. § 9-11-62, but Judge Childs

declined to enter the proposed order and instead conditioned Drew's release on

payment of $8,000.00, a portion of the amount he owed based on the Contempt

Order. Id. ^ 27. Drew alleges that he was unlawfully detained for fourteen days;

however, the record indicates that he was released after four days, on November


30, 2018. Id, If 28; see also McLaws v. Drew, 355 Ga. App. 162, 165 (2020) ("On

November 30, 2018, the trial court entered a consent order releasing Jay from jail,

noting his payment of $8,000, and requiring him to pay the balance of $6,505 on or

before December 17.").


      Based on the foregoing factual allegations, Drew filed a multi-count

Amended Complaint5 on January 11, 2021, alleging the following claims:




 The caption of the Amended Complaint names only Cobb County, Georgia;
Sonya Alien; and Nathanial Nation as defendants. Similarly, those three
Defendants are the only ones listed in the "Parties" Section of the Amended
Complaint. Am. Compl. ^ 1-4. Nevertheless, the Amended Complaint
continually references Judge Kimberly Childs as a defendant and names her in
several of the counts. See id, ^ 20-21, 23, 26-27, 30,32,39,41, 48, 55,61,63,
70, 75-77, 80-81, 83-84, 87, 91. Additionally, the introductory paragraph states
that the Amended Complaint is filed against Sheriff Craig D. Owens, among
                                          4
        Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 5 of 16




(1) unlawful seizure and detention in violation of the Fourth Amendment pursuant

to 42 U.S.C. § 1983 (2012) (Count One), Am. CompL ^ 34-51; (2) violation of

due process under the Fourteenth Amendment pursuant to 42 U.S.C. § 1983 (2012)

(Count Two), Am. Compl. ^ 52-58; (3) unlawful seizure and detention in

violation of the Georgia Constitution (Count Three), Am. Compl. fl 59-73;

(4) false imprisonment pursuant to 0,C.G.A. § 51-7-1 (Count Four and Six), Am.

CompL |1T 74-78, 86-89; (5) intentional infliction of emotional distress (Count




others. There is no indication in the record that Judge Childs or Sheriff Owens was
served with process in this case.


The Court will assume Drew did not intend to name either Childs or Owens as
defendants. The Court notes that if Drew had named Judge Childs as a defendant,
she would be entitled to absolute judicial immunity. It is well-settled that "judges
are entitled to absolute judicial Immunity from damages for those acts taken while
they are acting in their judicial capacity unless they acted in a clear absence of all
jurisdiction." Sibley v. Lando, 437 F.3d 1067, 1070 (11th Cir. 2005) (internal
citation omitted); see also Stewart v. Baldwin Cntv. Bd. ofEduc., 908 F.2d 1499,
1507 (llth Cir. 1990) (citing CIeavingerv. Saxner, 474 U.S. 193, 199 (1985), and
Pierson v. Ray, 386 U.S. 547 (1967)). Judicial immunity applies '"even when the
judge's acts are in error, malicious, or were in excess of his or her jurisdiction.'"
Sibley, 437 F.3d at 1070 (quoting Bolin v. Story, 225 F.3d 1234, 1239 (11th Cir.
2000)). All of the allegations regarding Judge Chllds in Drew's Amended
Complaint involve her actions taken in her Judicial capacity.
       Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 6 of 16




Five), Am. CompL fl 79-85; and (6) punitive damages (Count Seven6), Am.

Compl.Tm 90-92.

II. LEGAL STANDARD

      Federal Rule of Civil Procedure 8(a)(2) requires that a pleading contain a

"short and plain statement of the claim showing that the pleader is entitled to


relief." FED. R. Civ. P. 8(a)(2). While this pleading standard does not require

"detailed factual allegations," the Supreme Court has held that "labels and

conclusions" or "a formulate recitation of the elements of a cause of action will not


do." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009} fquotins Bell Ati. Corp, v.

Twomblv, 550 U.S. 544, 555 (2007)). Under Federal Rule of Civil Procedure

12(b)(6), a claim will be dismissed for failure to state a claim upon which relief

can be granted if it does not plead "enough facts to state a claim to relief that is

plausible on its face." Twomblv, 550 U.S. at 570. The Supreme Court has


explained this standard as follows:

      A claim has facial plausibility when the plaintiff pleads factual content
      that allows the court to draw the reasonable inference that the defendant
      is liable for the misconduct alleged. The plausibility standard is not
      akin to a "probability requirement," but it asks for more than a sheer
      possibility that a defendant has acted unlawfully.



6 Although the Amended Complaint states that this is Count Six, it is actually
Count Seven.
       Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 7 of 16




Ashcroft, 556 U.S. at 678 (internal citation omitted). Thus, a claim will sundve a

motion to dismiss only if the factual allegations m the pleading are "enough to


raise a right to relief above the speculative level." Twombly, 550 U.S. at 555.

      At the motion to dismiss stage, the court accepts all well-pleaded facts in the

plaintiffs complaint as true, as well as all reasonable inferences drawn from those

facts. McGinlev v. Houston, 361 F.3d 1328, 1330 (llth Cir. 2004); Lotierzo_^

Woman's World Med. Ctr.. Inc, 278 F.3d 1180,1182 (llth Cir. 2002). Not only

must the court accept the well-pleaded allegations as true, but these allegations

must also be construed in the light most favorable to the pleader. Powell v.

Thomas, 643 F.3d 1300, 1302 (11th Cir. 2011). However, the court need not

accept legal conclusions, nor must it accept as tme legal conclusions couched as


factual allegations. Iqbal, 556 U.S. at 678. Thus, evaluation of a motion to dismiss

requires the court to assume the veracity ofwell-pleaded factual allegations and

"determine whether they plausibly give rise to an entitlement to relief." Id. at 679.

HI. ANALYSIS

      Defendants contend that the Amended Complaint should be dismissed

because it fails to state a claim upon which relief can be granted against any of the

named Defendants. See Defs.' Br. in Supp. of Mot to Dismiss PL'S First Am.


Compl. ("Defs/ Br.") [Doc. 23-1] at 7-35.


                                          7
       Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 8 of 16




      A. Federal Claims Against Cobb County

      Among other arguments, Defendants argue that Cobb County cannot be

liable for any claim brought pursuant to 42 U.S.C. § 1983 because Drew has failed


to allege that there was a county policy that caused any injury to Drew. Defs/ Br.

at 14-18, The Court agrees.


      A local government may not be sued under Section 1983 simply because an

injury is inflicted by its employees or agents. See McDowell v. Brown, 392 F.3d

1283, 1289 (11th Cir. 2004) (holding that a 1983 "plaintiff cannot rely upon the

theory oirespondeat superior to hold the County liable") (citing Monell v. Dept of

Soc. Servs., 436 U.S. 658, 692 (1978)). Instead, it is only "when execution of a

government's policy or custom, whether made by its lawmakers or by those whose


edicts or acts may fairly be said to represent official policy, inflicts the injury for

which the government is responsible under Section 1983. Monell, 436 U.S.658,

694 (1978). The Eleventh Circuit has determined that in order "to Impose § 1983

liability on a municipality, a plaintiff must show: (1) that his constitutional rights

were violated; (2) that the municipality had a custom or policy that constituted a

deliberate indifference to that constitutional right; and (3) that the policy or custom

caused the violation," McDowell, 392 F.3d at 1289.

      With regard to the second element, the Supreme Court has ruled that
       Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 9 of 16




      a "policy" giving rise to liability cannot be established merely by
      identifying a policymaker's conduct that is properly attributable to the
      municipality. The plaintiff must also demonstrate that, through its
      deliberate conduct, the municipality was the "moving force" behind the
      injury alleged. That is, a plaintiff must show that the municipal action
      was taken with the requisite degree of culpability and must demonstrate
      a direct causal link between the municipal action and the deprivation of
      federal rights.

Bd. of the Cntv. Comm'rs v. Brown, 520 U.S. 397, 399 (1997) (citing Monell).


"[T]o demonstrate a policy or custom, it is generally necessary to show a persistent

and wide-spread practice." Lavassani v. City ofCanton, 760 F. Supp. 2d 1346,


1360 (N.D. Ga. 2010) (citing Church v. City ofHuntsvJUe, 30 F.3d 1332, 1345

(11th Cir. 1994) and Depew v. City of St. M£U-VS, 787 F.2d 1496, 1499 (1 1th Cir.

1986)). The policy or custom identified by a plaintiff must be "a practice that is so

settled and permanent that it takes on the force of the law." Monell, 436 U.S. at

690-91. This level of specificity "ensures that a municipality is held liable only for

those deprivations resulting from the decisions of its duly constituted legislative

body or of those officials whose acts may fairly be said to be those of the

municipality." Brown, 520 U.S. at 402-03. "[TJhis prevents the imposition of

liability based upon an isolated incident." McDowell, 392 F.3d at 1290.

      In the present action, Drew's claims stem from one allegedly unlawful arrest

and detention in November of 2018. Further, his Amended Complaint includes the

following vague and conclusory allegations:
                                           9
      Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 10 of 16




       The County has a persistent and wide spread and permanent practice of
       violating civil rights. For example, cases involving civil rights
       violations against the County that have been filed in this Court, are:


          » Jordan v. Cobb Co. 1:99cv2837 (N.D. Ga. 1999);
          • Murdockv. Cobb Co. l:12cv01743 (N.D. Ga. 2012);
          • Bames v. Cobb Co. l:14cv00948 (N.D. 2014);
          • Perezv. Cobb Co. l:16cv00902 (N.D. 2016).

       The County tacticity [sic] authorizes repeated constitutional violations
       or displays of deliberate indifference to police and judicial misconduct,
       making its failure to correct constitutionally offensive actions the
       County custom or practice. This is true even for a female County
       Commissioner who was harassed by police forcing her to write a
       memorandum to County Commissioners.


Am. Compl. ^<j 14-15. Although Drew generally alleges that Cobb County has a

practice of violating individual's civil rights, the factual allegations in Drew's

Amended Complaint fall short of being the sort of "custom or practice" implicating

Section 1983 liability against a county. All of Drew's allegations surrounding his

November arrest involve one incident and there is no allegation that It was the

result of any of the type of civil rights violations at issue in the cases cited in the

Amended Complaint. Moreover, none of the cases Drew cites resulted in a finding


that Cobb County was responsible for any civil rights violations. Order, Perez v.

Bastis, No. l:16-cv"0902-SCJ (N.D. Ga, Nov. 28, 2017) (granting defendant Cobb

County's motion to dismiss all claims); Stipulated Dismissal with Prejudice,

Bames v. Cobb Cntv, No. l:14-cv-0948"TWT (N.D. Ga. Dec. 14, 2019)(case


                                            10
      Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 11 of 16




voluntarily dismissed after the Parties reached a settlement); Stipulated Dismissal

with Prejudice, Murdock v. Cobb Cntv., No. l:12-cv-1743-RWS (N.D. Ga. Aug.7,


2014) (same); Order, Jordan v. Cobb Cnty, l:99-cv-2837-JEC (N.D. Ga. Sept. 28,

2001) (granting motion for summary judgment as to claims against Cobb County).

Finding Cobb County liable based on Drew's other vague allegations, assuming

their veracity, "Is exactly what Section 1983 is designed to prevent." Lavassani,

760 F. Supp. 2d at 1360 (citations omitted).

      In Lavassani, the Court found the evidence of a series of events that related

solely to the plaintiffs and the City of Canton police department insufficient to

support a finding that there was a persistent and widespread custom or practice that

could deprive plaintiffs of their constitutional rights. Lavassani, 760 F. Supp. 2d

at 1360-61 ("The plaintiffs' arguments are an effort to create liability by extracting

key phrases and terms from applicable case law and then misapplying those

phrases and terms to the events surrounding May 1-2, 2008. . . . Further, the


plaintiffs failed to identify any evidence, outside of the events surrounding May 1-

2, 2008, to support a finding of 'a persistent and widespread practice' and

awareness by city officials.") Assuming their veracity, the facts alleged in Drew's

Amended Complaint are similar to the facts the court in Lavassani found to be

insufficient to support Section 1983 liability against a municipality. Drew's


                                          11
       Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 12 of 16




general allegations that Cobb County has previously deprived individuals of their

civil rights, even coupled with his allegations that he was unlawfully arrested, are

not sufficiently persistent or widespread, Further, Drew's Amended Complaint is

devoid of any specific allegation outside the incident involving him. Even if

proven true, Drew's allegations fall short of demonstrating that Cobb County has a

custom or policy permitting the unlawful seizure and detention of Drew in

violation of the Fourth Amendment

      Accordingly, this Court DISMISSES Drew's Section 1983 claims for

unlawful seizure and detention in violation of the Fourth Amendment (Count One)

and violation of due process under the Fourteenth Amendment (Count Two)

against Cobb County.

      B. Federal Claim Against Sonya Alien and Nathanial Nation

      Defendants argue, inter alia, that Drew's Section 1983 claim for unlawful

seizure and detention in violation of the Fourth Amendment (Count One) against

Alien and Nation fails because it is barred by the doctrine of quasi-judicial

immunity. Defs.'Br. at 18-20. The Court agrees. "[L]aw enforcement personnel,


acting in furtherance of their official duties and relying on a facially valid court

order, are entitled to absolute quasi-Judicial immunity from suit in a section 1983

action." Roland v. Phillips, 19 F.3d 552, 556 (HthCir. 1994).


                                           12
      Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 13 of 16




      Taking the allegations as true, to the extent Alien and Nation had any role at

all, they executed an affidavit for the arrest of Drew based on Judge Child's

Contempt Order, SeeAm.CompI.Tf22. This is the type of activity that is

protected by absolute quasi-judicial immunity.

      To the extent that [law enforcement officers] were involved in effecting
      the plaintiffs' arrest after Judge Smith issued the arrest warrants, "law
      enforcement personnel, acting in furtherance of their official duties and
      relying on a facially valid court order, are entitled to absolute quasi-
      Judicial immunity from suit in a section 1983 action." Roland, 19 F.3d
      at 556. Arrest warrants are valid on their face when "the affidavits
      attached to the warrants provided probable cause to believe that [the
      suspect] has committed the offenses charged." Pickens v. Hollowell,
      59 F.3d 1203, 1206 (llth Cin 1995). The arrest warrants here were
      facially valid because the affidavits attached to them provided probable
      cause to believe that the plaintiffs had committed the crime. As for
      executing the arrest warrants, because [the law enforcement officers]
      were entitled to quasi-judicial immunity for the actions, if any, that they
      took in that regard, the district court did not err in granting summary
      judgment [for defendants].

Byrd v. Jones, 673 F. App'x 968, 974 (11th Ch\ 2016), Because Alien's and

Nation's actions were in furtherance of Judge Childs' Contempt Order directing

Drew's arrest in the event he did not make the $14,505.00 payment by November

5, 2018, they are entitled to absolute quasi-judicial immunity and the Section 1983

claim in this case against them is barred. Accordingly, this Court DISMISSES

Drew s claims for unlawful seizure and detention in violation of the Fourth

Amendment (Count One) against Alien and Nation.


                                          13
       Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 14 of 16




       C. Pendent State Law Claims ~ Counts Three through Seven


       Drew's Amended Complaint includes claims for unlawful seizure and

detention, false imprisonment, and intentional mfliction of emotional distress. See

Am. CompL ^ 59-89, Having resolved the Section 1983 claims in Counts One

and Two, the Court still must determine whether it should exercise supplemental

jurisdiction over the remaining state law claims in Counts Three through Seven.

See 28 U.S.C. § 1367(a) ("[I]n any civil action of which the district courts have

original jurisdiction, the district courts shall have supplemental jurisdiction over all

other claims that are so related to claims in the action within such original

jurisdiction that they form part of the same case or controversy under Article III of

the United States Constitution.").

       The Court may decline to exercise supplemental jurisdiction over non-

diverse state law claims if: (1) the claim raises a novel or complex issue of state

law; (2) the claim substantially predominates over the claim or claims over which

the district court has original jurisdiction; (3) the district court has dismissed all

claims over which it has original jurisdiction; or (4) in exceptional circumstances,

there are other compelling reasons for declining jurisdiction. See 28 U.S.C.

§ 1367(c). In addition, in deciding whether to exercise supplemental Jurisdiction

over pendent state law claims under § 1367(c), a court should also consider the


                                            14
      Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 15 of 16




interest of judicial economy, convenience, fairness to the litigants, and comity.


Palmer v. Hosp. Auth. of Randolph Cntv, 22 F.3d 1559, 1569 (llth C!r. 1994).

The Eleventh Circuit Court of Appeals has noted that "if the federal claims are


dismissed prior to trial, Gibbs strongly encourages or even requires dismissal of

state claims." LA. Draper & Son v. Wheelabrator-Frve, Inc., 735 F.2d 414, 428


(11th Cir. 1984) (citing United Mine Workers v. Gibbs, 383 U.S. 715, 726 (1966)).

      Given the dismissal of the federal claims, the outcome of this dispute now

depends exclusively on issues of state law. The Court finds that judicial economy,

fairness, and convenience favor declining to exercise supplemental jurisdiction

over Drew's remaining state-Iaw claims. See Baggett v. First Nafl Bank of


Gainesville, 117 F.3d 1342. 1353 H 1th Cir. 1997) (citing Camesie-Mellon Univ.

v. Cohill, 484 LLS. 343, 350 n.7, (1988) ("[I]n the usual case in which all federal-

law claims are eliminated before trial, the balance of factors to be considered under

the pendent jurisdiction doctrine—judicial economy, convenience, fairness, and

comity—will point toward declining to exercise Jurisdiction over the remaining

state-law claims."); see also Eubanks v. Genven, 40 F.3d 1157, 1162 (llth Cir.

1994) (remanding the case to the district court to consider dismissing plaintiffs

state-law claims without prejudice so that the plaintiff could pursue those claims in




                                          15
      Case 1:20-cv-04683-MHC Document 24 Filed 07/29/21 Page 16 of 16




state court where the court had granted summary judgment to the defendant on

plaintiffs federal-law claims).

      In light of the above authority, the Court declines to exercise jurisdiction

over Drew's state law claims (Counts Three through Seven), which are hereby

DISMISSED WITHOUT PREJUDICE.

IV. CONCLUSION

      Based on the foregoing, it is hereby ORDERED that Defendants' Motion to

Dismiss Plaintiffs First Amended Complaint [Doc. 23] is GRANTED as to the

federal claims raised in Counts One and Two. As this Court declines to exercise

supplemental jurisdiction over the state law claims, it is further ORDERED that

Counts Three through Seven of the First Amended Complaint are DISMISSED

WITHOUT PREJUDICE.

      The Clerk is DIRECTED to close this case.

      IT IS SO ORDERED this 29th day of July, 2021.




                                       MARK H. COHEN
                                       United States District Judse




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